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Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF TEXAS

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                CNBG Real Estate II, Ltd.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  7701 Broadway, Ste. 200
                                  San Antonio, TX 78209
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Bexar                                                         Location of principal assets, if different from principal
                                  County                                                        place of business
                                                                                                6600 Bandera Road San Antonio, TX 78238
                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
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Debtor    CNBG Real Estate II, Ltd.                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5313

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor    CNBG Real Estate II, Ltd.                                                                     Case number (if known)
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
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Debtor   CNBG Real Estate II, Ltd.                                                    Case number (if known)
         Name

                              $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                              $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                              $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    CNBG Real Estate II, Ltd.                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 30, 2023
                                                  MM / DD / YYYY


                             X   /s/ Glenn G. Mortimer, III                                               Glenn G. Mortimer, III
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member of CNBG GP, LLC




18. Signature of attorney    X   /s/ William B. Kingman                                                    Date March 30, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 William B. Kingman
                                 Printed name

                                 Law Offices of William B. Kingman, P.C.
                                 Firm name

                                 3511 Broadway
                                 San Antonio, TX 78209
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (210) 829-1199                Email address      bkingman@kingmanlaw.com

                                 11476200 TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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                       RESOLUTION REGARDING AUTHORITY TO FILE
                          CHAPTERllBANKRUPTCYPROCEEDING

          I, Glenn G. Mortimer, III, declare under penalty ofperjury that I am the Managing Member
    ofCNBG GP, LLC, the general partner ofCNBG Real Estate II, Ltd., a Texas limited partnership.
    On March 21, 2023, the following resolution was duly adopted by the members ofthis entity:

           "Whereas, it is in the best interest ofCNBG Real Estate II, Ltd. to file a voluntary petition
    in the United States Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States
    Code;

            Be It Further Resolved that Glenn G. Mortimer, III, as Managing Member of CNBG GP,
    LLC, the general partner ofCNBG Real Estate II, Ltd., is authorized and directed to execute and
    deliver all documents necessary to perfect the filing ofa chapter 11 voluntary bankruptcy case on
    behalf of CNBG Real Estate II, Ltd.; and

            Be It Further Resolved that Glenn G. Mortimer, III, as Managing Member of CNBG GP,
    LLC, the general partner of CNBG Real Estate II, Ltd., is authorized and directed to appear in all
    bankruptcy proceedings on behalf of CNBG Real Estate Tl, Ltd., and to otherwise do and perform
    all acts and deeds and to execute and deliver all necessary documents on behalf of CNBG Real
    Estate II, Ltd. in connection with such bankruptcy case; and

           Be It Further Resolved that Glenn G. Mortimer, III, as Managing Member of CNBG GP,
    LLC, the general partner ofCNBG Real Estate II, Ltd. is authorized and directed to, on behalfof
    CNBG Real Estate II, Ltd., employ as attorney the Law Offices of William B. Kingman, P.C. to
    represent CNBG Real Estate II, Ltd. in such bankruptcy case."


                                          Dated effective March 21, 2023.

                                          CNBG Real Estate II, Ltd., a Texas limited
                                          partnership
                                          By: CNBG GP, LLC, its general partner

                                          By:
                                          Glenn Mortimer, III, mana
                                           general partner
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Fill in this information to identify the case:

Debtor name         CNBG Real Estate II, Ltd.

United States Bankruptcy Court for the:     WESTERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       March 30, 2023                  X /s/ Glenn G. Mortimer, III
                                                           Signature of individual signing on behalf of debtor

                                                            Glenn G. Mortimer, III
                                                            Printed name

                                                            Managing Member of CNBG GP, LLC
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:
Debtor name CNBG Real Estate II, Ltd.
United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS                                                                       Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
-NONE-




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Fill in this information to identify the case:

 Debtor name            CNBG Real Estate II, Ltd.

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $         535,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $                 60.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $         535,060.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $         242,072.39


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                  0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$         253,543.05


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $            495,615.44




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                              30
Fill in this information to identify the case:

Debtor name          CNBG Real Estate II, Ltd.

United States Bankruptcy Court for the:      WESTERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Jefferson Bank                                    Checking Account                      4795                                         $60.00



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                        $60.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No.   Go to Part 3.
      Yes Fill in the information below.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.
11.        Accounts receivable


           11b. Over 90 days old:                       52,371.10      -                          52,371.10 =....                                          $0.00
                                        face amount                          doubtful or uncollectible accounts


Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                                     page 1
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                                             30
Debtor       CNBG Real Estate II, Ltd.                                                    Case number (If known)
             Name



12.       Total of Part 3.                                                                                                             $0.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

    No.   Go to Part 5.
    Yes Fill in the information below.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No.   Go to Part 6.
    Yes Fill in the information below.

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No.   Go to Part 7.
    Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No.   Go to Part 8.
    Yes Fill in the information below.

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No.   Go to Part 9.
    Yes Fill in the information below.

Part 9:      Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.
55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of            Nature and             Net book value of        Valuation method used   Current value of
          property                               extent of              debtor's interest        for current value       debtor's interest
          Include street address or other        debtor's interest      (Where available)
          description such as Assessor           in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. 6600 Bandera Road,
                 San Antonio, TX
                 78238                           Fee simple                        $346,878.00   Pending sale                      $535,000.00




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 2
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                                             30
Debtor        CNBG Real Estate II, Ltd.                                                    Case number (If known)
              Name


56.        Total of Part 9.                                                                                         $535,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
            No
            Yes
58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
            Yes
Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No.    Go to Part 11.
    Yes Fill in the information below.

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No.    Go to Part 12.
    Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                       page 3
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                                             30
Debtor          CNBG Real Estate II, Ltd.                                                                           Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                   $60.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                        $535,000.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                                    $60.00        + 91b.              $535,000.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $535,060.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 4
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                                              30
Fill in this information to identify the case:

Debtor name          CNBG Real Estate II, Ltd.

United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1    Albert Uresti, M.P.A., PCC                   Describe debtor's property that is subject to a lien                  $12,092.93              $535,000.00
       Creditor's Name                              6600 Bandera Road, San Antonio, TX 78238
       Bexar County Tax
       Assessor
       Vista Verde Plaza Building
       233 N. Pecos La Trinidad
       San Antonio, TX 78207
       Creditor's mailing address                   Describe the lien
                                                    Property Tax
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       2023                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1020
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
          Yes. Specify each creditor,               Unliquidated
       including this creditor and its relative      Disputed
       priority.
       1. Albert Uresti, M.P.A.,
       PCC
       2. Jefferson Bank

2.2    Jefferson Bank                               Describe debtor's property that is subject to a lien                $229,979.46               $535,000.00
       Creditor's Name                              6600 Bandera Road, San Antonio, TX 78238
       Attn: Brandey Orsag
       1900 Broadway
       San Antonio, TX 78215
       Creditor's mailing address                   Describe the lien
                                                    Mortgage
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       5/31/2006                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 2
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                                             30
Debtor      CNBG Real Estate II, Ltd.                                                            Case number (if known)
            Name

      Last 4 digits of account number
      6803
      Do multiple creditors have an              As of the petition filing date, the claim is:
      interest in the same property?             Check all that apply
       No                                        Contingent
       Yes. Specify each creditor,               Unliquidated
      including this creditor and its relative    Disputed
      priority.
      Specified on line 2.1

3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.           $242,072.39

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                             you enter the related creditor?    account number for
                                                                                                                                                this entity




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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                                              30
Fill in this information to identify the case:

Debtor name        CNBG Real Estate II, Ltd.

United States Bankruptcy Court for the:         WESTERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $225,456.82
          APL, LLC                                                           Contingent
          7701 Broadway, Ste. 200                                            Unliquidated
          San Antonio, TX 78209                                              Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Loan
          Last 4 digits of account number
                                                                            Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $2,916.97
          Carl Schenken, Jr.                                                 Contingent
          PO Box 6229                                                        Unliquidated
          San Antonio, TX 78209                                              Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Loan
          Last 4 digits of account number
                                                                            Is the claim subject to offset?    No  Yes
3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                           $0.00
          EPA - Region 6                                                     Contingent
          Attn: John Meyer
          1201 Elm Street, Suite 500
                                                                             Unliquidated
          Dallas, TX 75270                                                   Disputed
          Date(s) debt was incurred 3/2023                                  Basis for the claim:    Bandera Road Ground Water Plume Superfund Site
          Last 4 digits of account number 6565                              Is the claim subject to offset?    No  Yes
3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $25,169.26
          Glenn G. Mortimer, III                                             Contingent
          7701 Broadway, Ste. 200                                            Unliquidated
          San Antonio, TX 78209                                              Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Loan
          Last 4 digits of account number
                                                                            Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.
Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 2
                                                                                                          20580
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                                             30
Debtor      CNBG Real Estate II, Ltd.                                                           Case number (if known)
            Name


  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                related creditor (if any) listed?              account number, if
                                                                                                                                               any
4.1       EPA - Region 6
          Attn: Jacob Piehl                                                                     Line      3.3
          1201 Elm Street, Suite 500
          Dallas, TX 75270                                                                            Not listed. Explain



Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                    Total of claim amounts
5a. Total claims from Part 1                                                                        5a.         $                          0.00
5b. Total claims from Part 2                                                                        5b.    +    $                    253,543.05

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                             5c.         $                      253,543.05




Official Form 206 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 2
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                                              30
Fill in this information to identify the case:

Debtor name        CNBG Real Estate II, Ltd.

United States Bankruptcy Court for the:      WESTERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Contract for the sale of
             lease is for and the nature of       6600 Bandera Road
             the debtor's interest

                State the term remaining
                                                                                    KeyMex LLC
             List the contract number of any                                        2400 West Ave., Ste. 1
                   government contract                                              San Antonio, TX 78201


2.2.         State what the contract or           Listing Agreement
             lease is for and the nature of
             the debtor's interest

                State the term remaining          8/20/2023
                                                                                    REOC General Partner, LLC
             List the contract number of any                                        8023 Vantage Dr., Ste. 1200
                   government contract                                              San Antonio, TX 78230




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
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                                            30
Fill in this information to identify the case:

Debtor name      CNBG Real Estate II, Ltd.

United States Bankruptcy Court for the:   WESTERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    Blake M. Bonner             322 Westover Road                                        Jefferson Bank                  D       2.2
                                      San Antonio, TX 78209                                                                     E/F
                                                                                                                               G



   2.2    Carl Schenken,              PO Box 6229                                              Jefferson Bank                  D       2.2
          Jr.                         San Antonio, TX 78209                                                                     E/F
                                                                                                                               G



   2.3    Glenn G.                    7701 Broadway, Ste. 200                                  Jefferson Bank                  D       2.2
          Mortimer, III               San Antonio, TX 78209                                                                     E/F
                                                                                                                               G



   2.4    William Neely               4147 Lanark Lane                                         Jefferson Bank                  D       2.2
          Bonner, III                 Houston, TX 77025                                                                         E/F
                                                                                                                               G




Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 1
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                                             30



Fill in this information to identify the case:

Debtor name         CNBG Real Estate II, Ltd.

United States Bankruptcy Court for the:    WESTERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                            Operating a business                                $-24,702.33
      From 1/01/2023 to Filing Date
                                                                                       Other


      For prior year:                                                                  Operating a business                                   $3,000.00
      From 1/01/2022 to 12/31/2022
                                                                                       Other


      For year before that:                                                            Operating a business                                $-39,010.00
      From 1/01/2021 to 12/31/2021
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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                                             30
Debtor       CNBG Real Estate II, Ltd.                                                          Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
              Jefferson Bank                                       1/2023,                          $11,423.04            Secured debt
              1900 Broadway                                        2/2023,                                                Unsecured loan repayments
              San Antonio, TX 78215                                3/2023
                                                                                                                          Suppliers or vendors
                                                                                                                          Services
                                                                                                                          Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2
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                                             30
Debtor        CNBG Real Estate II, Ltd.                                                           Case number (if known)



               Recipient's name and address            Description of the gifts or contributions                  Dates given                          Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.                                              Attorney Fees
                                                         Prepetition Fees and Expenses Paid:
                Law Offices of William B.                $3,000.00
                Kingman, P.C.                            Prepetition Filing Fee: $1,738.00
                3511 Broadway                            Total Retainer Held at Time of Filing:
                San Antonio, TX 78209                    $10,000.00                                                    3/30/23                  $14,738.00

                Email or website address
                bkingman@kingmanlaw.com

                Who made the payment, if not debtor?
                APL, LLC paid the pre-peition fees
                and filing fee. The Debtor paid the
                retainer.



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

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Debtor      CNBG Real Estate II, Ltd.                                                            Case number (if known)



14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
      Yes. Fill in the information below.

               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

          No.
      Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?

Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and           Last 4 digits of           Type of account or          Date account was                  Last balance
               Address                                  account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 4
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                                             30
Debtor      CNBG Real Estate II, Ltd.                                                           Case number (if known)




      None
      Facility name and address                             Names of anyone with                  Description of the contents               Does debtor
                                                            access to it                                                                    still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
      Yes. Provide details below.
      Case title                                            Court or agency name and              Nature of the case                        Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

      No.
          Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address
      Bandera Road Ground Water Plume                       EPA - Region 6                            Section 107 (1) of CERCLA             3/16/2023
      6600 Bandera Road                                     Attn: Bankruptcy Division
      Leon Valley, TX 78238                                 1201 Elm Street, Suite 500
                                                            Dallas, TX 75270


24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 5
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                                             30
Debtor      CNBG Real Estate II, Ltd.                                                           Case number (if known)



      None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Callie Mayo                                                                                                        3/2021 - present
                    7701 Broadway, Ste. 200
                    San Antonio, TX 78209

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Glenn G. Mortimer, III
                    7701 Broadway, Ste. 200
                    San Antonio, TX 78209

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address
      26d.1.  EPA - Region 6
                    Attn: Jacob Piehl
                    1201 Elm Street, Suite 500
                    Dallas, TX 75270

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
      Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      CNBG GP, LLC                            7701 Broadway, Ste. 200                             General Partner                               1%
                                              San Antonio, TX 78209



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 6
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                                             30
Debtor      CNBG Real Estate II, Ltd.                                                           Case number (if known)




          No
      Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

          No
      Yes. Identify below.
             Name and address of recipient             Amount of money or description and value of               Dates              Reason for
                                                       property                                                                     providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
      Yes. Identify below.
   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
      Yes. Identify below.
   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         March 30, 2023

/s/ Glenn G. Mortimer, III                                      Glenn G. Mortimer, III
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Managing Member of CNBG GP, LLC

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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                                            30
                                                      United States Bankruptcy Court
                                                                Western District of Texas
 In re    CNBG Real Estate II, Ltd.                                                                               Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Blake M. Bonner                                                                   16.415%                                    Limited Partner
322 Westover Road
San Antonio, TX 78209

Carl Schenken, Jr.                                                                33.085%                                    Limited Partner
PO Box 6229
San Antonio, TX 78209

CNBG GP, LLC                                                                      1%                                         General Partner
7701 Broadway, Ste. 200
San Antonio, TX 78209

Glenn G. Mortimer, III                                                            33.085%                                    Limited Partner
7701 Broadway, Ste. 200
San Antonio, TX 78209

William Neely Bonner, III                                                         16.415%                                    Limited Partrner
4147 Lanark Lane
Houston, TX 77025


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member of CNBG GP, LLC of the partnership named as the debtor in this case, declare under
penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best
of my information and belief.



Date March 30, 2023                                                      Signature /s/ Glenn G. Mortimer, III
                                                                                        Glenn G. Mortimer, III

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                              United States Bankruptcy Court
                                                     Western District of Texas
 In re   CNBG Real Estate II, Ltd.                                                         Case No.
                                                                  Debtor(s)                Chapter     11




                                  VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of CNBG GP, LLC of the partnership named as the debtor in this case, hereby verify that the attached list of

creditors is true and correct to the best of my knowledge.




Date:    March 30, 2023                                /s/ Glenn G. Mortimer, III
                                                       Glenn G. Mortimer, III/Managing Member of CNBG GP, LLC
                                                       Signer/Title
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                           Albert Uresti, M.P.A., PCC
                           Bexar County Tax Assessor
                           Vista Verde Plaza Building
                           233 N. Pecos La Trinidad
                           San Antonio, TX 78207


                           APL, LLC
                           7701 Broadway, Ste. 200
                           San Antonio, TX 78209


                           Blake M. Bonner
                           322 Westover Road
                           San Antonio, TX 78209


                           Carl Schenken, Jr.
                           PO Box 6229
                           San Antonio, TX 78209


                           EPA - Region 6
                           Attn: John Meyer
                           1201 Elm Street, Suite 500
                           Dallas, TX 75270


                           EPA - Region 6
                           Attn: Jacob Piehl
                           1201 Elm Street, Suite 500
                           Dallas, TX 75270


                           Glenn G. Mortimer, III
                           7701 Broadway, Ste. 200
                           San Antonio, TX 78209


                           Internal Revenue Service
                           Centralized Insolvency Operations
                           P.O. Box 7346
                           Philadelphia, PA 19101


                           Jefferson Bank
                           Attn: Brandey Orsag
                           1900 Broadway
                           San Antonio, TX 78215


                           KeyMex LLC
                           2400 West Ave., Ste. 1
                           San Antonio, TX 78201
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                                       30



                       REOC General Partner, LLC
                       8023 Vantage Dr., Ste. 1200
                       San Antonio, TX 78230


                       Texas Comptroller of Public Accounts
                       Revenue Accounting Div- BK Section
                       P.O. Box 12548, MC-008
                       Austin, TX 78711


                       William Neely Bonner, III
                       4147 Lanark Lane
                       Houston, TX 77025
